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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 21-0007V
                                          UNPUBLISHED


    KATHARINE WISENER,                                          Chief Special Master Corcoran

                         Petitioner,                            Filed: May 20, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Howard Scott Gold, Gold Law Firm, LLC, Wellesley Hills, MA, for Petitioner.

Terrence Kevin Mangan, Jr., U.S. Department of Justice, Washington, DC, for
Respondent.


                                 DECISION AWARDING DAMAGES1

      On January 4, 2021, Katharine Wisener filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine that was administered
to her on October 19, 2019. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On May 20, 2022, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On May 19, 2022, Respondent filed a combined Rule 4
report/proffer on award of compensation (“Proffer”) indicating Petitioner should be
awarded $57,500.00. Rule 4/Proffer at 4. In the Rule 4/Proffer, Respondent represented

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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that Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find
that Petitioner is entitled to an award as stated in the Rule 4/Proffer.

      Pursuant to the terms stated in the Rule 4/Proffer, I award Petitioner a lump sum
payment of $57,500.00 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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